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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

Malique Cunningham,                            )
                                               )
                               Plaintiff,      )
                                               )      Case No. 16-cv-00226
       v.                                      )
                                               )      Judge Frederick J. Kapala
CHIEF JOYCE KLEIN, in her official and         )      Magistrate Judge Iain D. Johnston
individual capacity; LIEUTENANT                )
CAROLINE PARNOW, in her official and           )      JURY TRIAL DEMANDED
individual capacity; and DEPUTY SARAH          )
FOYEL, in her official and individual          )
capacity.

                               Defendants.

                             SECOND AMENDED COMPLAINT

       Plaintiff Malique Cunningham (“Mr. Cunningham”), by and through his attorneys,

McDermott Will & Emery LLP, alleges for his Second Amended Complaint against Defendants

Joyce Klein, Caroline Parnow, and Sarah Foyel (“Klein,” “Parnow,” and “Foyel”; collectively,

“Defendants”), in their official and individual capacities, as follows:

                                  NATURE OF THE ACTION

       1.      This is a civil action brought pursuant to 42 U.S.C. § 1983. Defendants violated

the Fourteenth Amendment of the United States Constitution by denying Mr. Cunningham any

opportunity to exercise for nearly an entire year of incarceration at DeKalb County Jail, located

in DeKalb County, Illinois (the “Jail”). Now, Mr. Cunningham seeks damages against

Defendants in their individual capacities for committing wrongful acts under color of law.

                                            THE PARTIES

       2.      Malique Cunningham, a resident of Illinois, was incarcerated at the Jail for nearly

a year during 2015 and 2016.
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        3.      Mr. Cunningham filed his original Complaint pro se, while he was incarcerated in

the Jail. Mr. Cunningham was not aware at the time he filed his original Complaint that

Defendants’ deprivation of any opportunity for Mr. Cunningham to exercise rose to the level of a

constitutional violation.

        4.      During the relevant time period, Defendant Klein was the Chief of Corrections at

the Jail.

        5.      During the relevant time period, Defendant Parnow was a Lieutenant at the Jail.

        6.      During the relevant time period, Defendant Foyel was a Deputy and Correctional

Officer at the Jail.

                                     JURISDICTION AND VENUE

        7.      Mr. Cunningham brings this action pursuant to 42 U.S.C. § 1983 to secure

damages and relief from Defendants’ actions and omissions, which were initiated under color of

law and which violated the rights, privileges and immunities guaranteed to Mr. Cunningham by

the Fourteenth Amendment to the United States Constitution.

        8.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and 28 U.S.C. § 1343.

        9.      Venue is proper in this district pursuant to 28 U.S.C. § 1391, because all of the

relevant events occurred at the DeKalb County Jail in DeKalb County, Illinois, which is within

the Northern District of Illinois.




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                                  FACTUAL ALLEGATIONS

Background of Mr. Cunningham’s Incarceration

        10.     Mr. Cunningham was admitted to the Jail on October 19, 2015. He remained in

the Jail until February 9, 2016, when he was released. He was then readmitted to the Jail on

March 15, 2016, and remained there until October 25, 2016.

        11.     While Mr. Cunningham was incarcerated at the Jail, he was awaiting trial on

criminal charges. He pled guilty in October 2016.

        12.     On October 25, 2016, Mr. Cunningham was transferred into the Illinois

Department of Corrections system.

        13.     Mr. Cunningham is now incarcerated at the Pontiac Correctional Center in

Pontiac, Illinois.

Failure of the Jail to Allow Mr. Cunningham to Exercise

        14.     At all times during Mr. Cunningham’s incarceration at the Jail, the Jail had no

exercise facilities or gym.

        15.     At all times during Mr. Cunningham’s incarceration at the Jail, the Jail made no

exercise equipment available to inmates and had no space available in which inmates could

exercise.

        16.     At all times during Mr. Cunningham’s incarceration at the Jail, the Jail prohibited

inmates from going outside.

        17.     Mr. Cunningham is six feet, four inches tall. Mr. Cunningham recently turned 20

years old. During most of his time at DeKalb County, he was 19. Mr. Cunningham turned 20

years old on October 6, 2016.




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        18.     Mr. Cunningham shared his cell with another inmate. The cell was approximately

7 feet by 9 feet, and contained bunk beds, a toilet, and sink, leaving no space for exercise. As a

result, it was impossible for Mr. Cunningham to exercise in his cell.

        19.     The Jail contained a multipurpose room, but it was filled with bookshelves, tables,

chairs, and a television. The floors were tile. It was crowded with other inmates. At most, Mr.

Cunningham could attempt to jog in place in the multipurpose room. Officials at the Jail

sometimes punished Mr. Cunningham by prohibiting him from entering the multipurpose room

for up to six days at a time.

        20.     Besides his cell and the multipurpose room, the only other area where Mr.

Cunningham spent time in the Jail was the hallway outside the six cells that constituted his cell

block. That area was essentially a passageway and also did not have space for Mr. Cunningham

to attempt to exercise. It contained two tables with chairs attached to those tables, and was

typically crowded with inmates, depending on how many inmates were housed in the cell block

at that time.

Defendants Ignored Mr. Cunningham’s Complaints About Lack of Exercise

        21.     Mr. Cunningham repeatedly complained to Jail officials regarding the lack of

ability to exercise, but they repeatedly ignored or disregarded his complaints.

        22.     Specifically, Mr. Cunningham complained to Defendant Foyel more than ten

times throughout his incarceration about lack of opportunity to exercise.

        23.     Mr. Cunningham complained to Defendant Parnow more than five times

throughout his incarceration about lack of opportunity to exercise.




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        24.     Mr. Cunningham complained to Defendant Klein on one occasion during his

incarceration about lack of opportunity to exercise. Defendant Klein ignored Mr. Cunningham

and did not respond to his complaint.

        25.     None of the Defendants ever addressed Mr. Cunningham’s concerns or provided

an opportunity for Mr. Cunningham to exercise.

Mr. Cunningham Suffered Harm From Defendants’ Refusal to Allow Mr. Cunningham
Opportunities to Exercise

        26.     As a direct and proximate cause of the deprivation of any exercise, Mr.

Cunningham’s health significantly suffered.

        27.     Mr. Cunningham suffered stress and mental anguish, and his psychological

disorders became exacerbated.

        28.     Mr. Cunningham’s muscles atrophied and Mr. Cunningham gained more than

twenty pounds in a short period of time.

                                   COUNT I
                   UNCONSTITUTIONAL DEPRIVATION OF EXERCISE

        29.     Paragraphs 1 through 28 are incorporated by reference as if fully set forth herein.

        30.     The Fourteenth Amendment to the United States Constitution protects against

punishments of individuals who have not been convicted of a crime.

        31.     The protections afforded under the Fourteenth Amendment are at least as great as

Eighth Amendment protections. Any action that would constitute punishment under the Eighth

Amendment violates the Due Process Clause when inflicted on a pretrial detainee.

        32.     The protections of the Fourteenth Amendment apply equally to the states and all

divisions and entities thereof, including departments of corrections, prison facilities and officers

acting in their official capacities.

        33.     As a pretrial detainee, Mr. Cunningham had the right to be free from punishment.

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       34.     In all of their actions, Defendants were acting under color of law and in the course

of their employment.

       35.     The claims made against Defendants are brought against them in their official and

individual capacity.

       36.     Based on the sustained and complete deprivation of the opportunity for Mr.

Cunningham to exercise, Defendants subjected Mr. Cunningham to an extreme deprivation of his

basic human needs.

       37.     Particularly because Mr. Cunningham was incarcerated in the Jail for almost a

year, Defendants’ deprivation of any opportunity for Mr. Cunningham to exercise was serious

and severe.

       38.     Despite having actual knowledge of the health risks that would result from the

continued and extended deprivation of any opportunity for Mr. Cunningham to exercise for

nearly a year, Defendants disregarded those effects.

       39.     Despite Mr. Cunningham’s repeated complaints to prison officials, Defendants

took no actions and ignored Mr. Cunningham’s complaints.

       40.     At all relevant times, Defendants acted in their official capacities under color of

state law. Defendants had personal knowledge of the acts and omissions that form the basis of

this claim.

       41.     By the acts described above, Defendants violated Mr. Cunningham’s rights

protected by the Fourteenth Amendment to the United States Constitution and 42 U.S.C. § 1983

and demonstrated a reckless disregard of these rights.

       42.     As a direct and proximate result of Defendants’ actions, Mr. Cunningham has

suffered mental anguish and adverse effects on his health.



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       WHEREFORE, Plaintiff Malique Cunningham seeks the following relief as to Count I

of the Second Amended Complaint against Defendants jointly and severally: (1) compensatory

damages in an amount to be determined at trial; and (2) other such relief as the Court deems just

or equitable.

                                         JURY DEMAND

       Plaintiff Malique Cunningham hereby demands a trial jury pursuant to Federal Rule of

Civil Procedure 38(b) on all issues so triable.



Dated: December 21, 2016                          Respectfully submitted,




                                                      /s/ Lisa N. Haidostian

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                                         CERTIFICATE OF SERVICE

          I hereby certify that on December 21, 2016, I electronically filed the foregoing
 document with the Clerk of the Court using the CM/ECF system, which will send notification
 of such filing to all counsel of record, and also served a true and correct copy of the foregoing
 document by first class mail on the following address:


                               Sarah Gallagher Chami
                               DeKalb County State’s Attorney’s Office
                               County Courthouse - Sycamore Campus
                               133 West State Street
                               Sycamore IL 60178



                                                    /s/ Lisa N. Haidostian
                                                    Lisa N. Haidostian

                                                    Attorney for Malique Cunningham


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